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 2
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 6
     ATTORNEY FOR DEFENDANT
 7   VALERIY NIKITCHUK
 8

 9

10
                                 IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                         EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )                      CR.NO.S-14-44--MCE
15                                 )
     PLAINTIFF,                    )                  STIPULATION BETWEEN THE PARTIES TO
16
                                   )                  CONTINUE THE STATUS CONFERENCE TO
17                     v.          )                  THURSDAY, SEPTEMBER 25, 2014 WITH
                                   )                  EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al., )                    TRIAL ACT AND PROPOSED ORDER
19
                                   )
     DEFENDANTS.                   )
20   ______________________________)
21
                The parties to this litigation, the United States of America, represented by Assistant
22
     United States Attorney, Michele M. Beckwith, and for the defendants: 1- Kresta N. Dally
23
     representing Aleksandr Kuzmenko.; 2- Michael L. Chastine representing Petr Kuzmenko.;
24

25
     3- Steven B. Plesser representing Arsen Muhtarov; and 4- James R. Greiner representing Valeriy

26   Nikitchuk hereby agree and stipulate to the following1:

27              1
                    The government requested that the format presented in this stipulation be used by the
28
     parties.
                                                             1
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 1
            1- By previous order, this matter was set for status on Thursday, June 26, 2014, see
 2
     docket number 51.
 3
            2. By this Stipulation, the defendants collectively now move to continue the status
 4
     conference until Thursday, September 25, 2014 and to exclude time pursuant to the Speedy Trial
 5
     Act between Thursday, June 26, 2014 and Thursday, September 25, 2014, under Local Codes T-
 6

 7
     2 (complexity due to the amount of discovery, number of defendants and potential legal issues)

 8   and T-4 (time for adequate attorney preparation). The government has produced initial

 9   discovery of more than approximately 15,000 pages in this case, including the latest production

10   of discovery on about June 16, 2014, consisting of an additional approximate 275 pages of
11   discovery and the government does not oppose this request. In addition, attorney James R.
12   Greiner, was just appointed to this case on April 3, 2014 and needs time to begin to review the
13   facts and discovery and to begin investigation in this case. (See docket entry number 42)
14          3. The parties agree and stipulate to the following and request the Court to find the
15
     following:
16
            a. The government has produced initial discovery to date which consists of approximately
17
     over 15,000 pages, including the latest production of discovery on about June 16, 2014,
18
     consisting of an additional approximate 275 pages of discovery.
19
            b. Counsel for all defendants need time to begin to review all the discovery with their
20
     respective clients, to conduct investigation into this case, do research, which includes legal
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     research, in this case, and to otherwise do review and investigation, using due diligence, that this
22
     case requires.
23
            d. Counsel for all defendants represents that the failure to grant the above requested
24

25
     continuance would deny counsel for each individual defendant the reasonable time necessary for

26   effective preparation, taking into account the exercise of due diligence.

27          e. The government, based on all of the above, does not object to the continuance.

28          f. Based on the above stated findings, the ends of justice served by continuing the case as

                                                          2
                 Case 2:14-cr-00044-TLN Document 62 Filed 07/01/14 Page 3 of 4


 1
     requested outweigh the interest of the public and all the defendants in a trial within the original
 2
     date prescribed by the Speedy Trial Act.
 3
            g. For the purpose of computing the time under the Speedy Trial Act, Title 18 U.S.C.
 4
     section 3161, et seq., within which trial must commence, the time period from Thursday, June
 5
     26, 2014 to Thursday, September 25, 2014, inclusive, is deemed excludable pursuant to Title
 6

 7
     18 U.S.C. 3161(h)(7)(B)(ii) which corresponds to Local Code T-2 and Title 18 U.S.C. section

 8   3161(h)(7)(B)(iv) corresponding to Local Code T-4, because it results from a continuance

 9   granted by the Court at defendants’ request on the basis of the Court’s finding that both, the

10   case is complex due to the amount of discovery and number of defendants and potential legal
11   issues in the case and that the ends of justice served by taking such action outweigh the best
12   interest of the public and all of the defendants in a speedy trial.
13          4. Nothing in this stipulation and order shall preclude a finding that other provisions of
14   the Speedy Trial Act dictate that additional time periods are excludable from the period within
15
     which a trial must commence.
16
            IT IS SO STIPULATED.
17
            Each attorney has granted James R. Greiner full authority to sign for each individual
18
     attorney.
19
            Respectfully submitted:
20                                BENJAMIN B. WAGNER
21                                UNITED STATES ATTORNEY

22   DATED: 6-23-14                 /s/ Michele M. Beckwith
                                    _____________________________________
23
                                    Michele M. Beckwith
24                                  ASSISTANT UNITED STATES ATTORNEY
                                    ATTORNEY FOR THE PLAINTIFF
25   DATED: 6-23-14
                                    /s/ Kresta N. Dally
26
                                    ___________________________________
27                                  Kresta N. Dally
                                    Attorney for Defendant
28                                  1- Aleksandr Kuzmenko

                                                            3
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 1
     DATED: 6-23-14          /s/ Michael L. Chastaine
 2
                             __________________________________
 3                           Michael L. Chastaine
                             Attorney for Defendant
 4                           2- Petr Kuzmenko
 5
     DATED: 6-239-14         /s/ Steve B. Plesser
 6                           __________________________________
                             Steve B. Plesser
 7                           Attorney for Defendant
 8                           3- Petr Kuzmenko

 9   DATED: 6-23-14          /s/ James R. Greiner
                             ________________________________
10
                             James R. Greiner
11                           Attorney for Defendant
                             4- Valeriy Nikitchu
12

13
                                           ORDER
14
           IT IS SO ORDERED.
15
     Dated: June 30, 2014
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